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IN THE UNITED STATES DISTRICT COURT 05 SEP
FOR THE WESTERN DISTRICT OF TENNESSEE "| PH 53 08

wEsTERN DlVISION
THOM¢§ M. GOULD
N_FB£-LLS.-QBNET COLHI
w/D OF m r.-€.F.¢JPHS

 

DAVID FOUCAULT and JEANNINE FOUCAULT,
Individually and as Husbaud and Wife,

Plaintiffs,
VS. CIV. NO. 04-2988 -D l P

THE LASIK VISION INSTITUTE,
ET AL,

Defendants.

ORDER GRANTING
PLAINTIFFS’ RULE 15 MOTION FOR LEAVE OF COURT
TO AMEND PLEADINGS

 

This matter came on to be heard upon the Motion of Plaintiffs for Leave of Court
to Arnend Pleadings to reflect the correct names of Defendants, Janice Doe and Rebecca
Doe Denial of the Motion by the Court, and the resubmission of Plaintiffs’ Motion for
Leave of Court to Amend Pleadings with Certiticate of Consultation pursuant to LR 7 .2,
and the entire record in this cause, from all of which, the Court finds that Plaintiffs’
Motion for Leave of Court to Amend Pleadings to reflect the correct names of the
Defendants, Janice Doe and Rebecca Doe, is well taken and should be granted.

IT IS THERFORE, ORDERED, ADJUDGED, AND DECREED BY THE

COURT that the Defendants, Janice Biava, Laser Operator be and is hereby substituted

 

 

P.C., Laser Operator dismissed based on the facts presented by defense counsel that no

corporation exist for the Defendant, Janice Biava.

   

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IT IS THERFORE, ORDERED, ADJUDGED, AND DECREED BY THE
COURT that the Defendants, Rebecca Albannaw, Keratome Technician, be and is
hereby substituted in the place and stead of Rebecca Doe, Keratorne Technician, with the
Defendant, Rebecca Albannaw, P.C., Keratome Technician, dismissed based on the facts

presented by defense counsel that no corporation exist for the Defendant, Rebecca

W i(\_@v»-/
TU M. PHAM
United States Magistrate Judge

Entered: W\ 'M¢>ZS'

Albannaw.

APPRQVED FQR E TRY:
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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CV-02988 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

